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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION
                                         x
CARL SHUPE and MATTHEW PEARLMAN, :
Individually and on Behalf of All Others :
Similarly Situated,                      : No. 21-cv-11528
      Plaintiffs,                        :
                                         : Honorable Thomas L. Ludington
v.                                       : District Judge
                                         : Honorable Anthony P. Patti
ROCKET COMPANIES, INC., JAY D.
                                         : Magistrate Judge
FARNER, DANIEL GILBERT and ROCK
                                         :
HOLDINGS INC.,
                                         :
      Defendants.                        :
                                         x

        DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
           PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
Nick Gorga (P72297)                            Jeffrey B. Morganroth (P41670)
Jeremy D. Lockhart (P76500)                    MORGANROTH & MORGANROTH, PLLC
Carsten Parmenter (P86425)                     344 North Old Woodward Ave., Suite 200
HONIGMAN LLP                                   Birmingham, Michigan 48009
660 Woodward Ave.                              Tel: (248) 864-4000
2290 First National Building                   jmorganroth@morganrothlaw.com
Detroit, Michigan 48226
Tel: (313) 465-7000                            Sharon L. Nelles (N.Y. 2613073)
ngorga@honigman.com                            Jeffrey T. Scott (N.Y. 2890374)
jlockhart@honigman.com                         Julia A. Malkina (N.Y. 5054572)
cparmenter@honigman.com                        SULLIVAN & CROMWELL LLP
                                               125 Broad Street
Deborah S. Birnbach                            New York, New York 10004
Adam Slutsky                                   Tel: (212) 558-4000
Kate MacLeman                                  nelless@sullcrom.com
GOODWIN PROCTER LLP                            scottj@sullcrom.com
100 Northern Ave.                              malkinaj@sullcrom.com
Boston, Massachusetts 02210
Tel: (617) 570-1000                            Counsel for Defendants Jay D. Farner, Daniel
dbirnbach@goodwinlaw.com                       Gilbert, and Rock Holdings Inc.
aslutsky@goodwinlaw.com
kmacleman@goodwinlaw.com

Counsel for Defendant Rocket Companies, Inc.

December 8, 2023
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                   STATEMENT OF ISSUES PRESENTED
      1.    Without a presumption of investor reliance, individualized issues of

each class member’s reliance on the alleged misstatements would prevent common

issues from predominating over individual issues, precluding class certification.

Should the Court deny certification of a class for Plaintiffs’ misstatement claim

because Plaintiffs failed to prove by a preponderance of the evidence that Rocket

Companies, Inc.’s (“Rocket”) stock traded in an efficient market during the 48-day

Class Period1 as required to invoke the fraud-on-the-market presumption of reliance

recognized in Basic Inc. v. Levinson, 485 U.S. 224 (1988)?

      2.    Should the Court deny certification of a misstatement class because

even if Plaintiffs met their evidentiary burden for invoking the fraud-on-the-market

presumption of reliance (they have not), Defendants have rebutted the presumption

by showing by a preponderance of the evidence that the alleged misstatements did

not impact the price of Rocket’s stock?

      3.    Should the Court deny certification of a misstatement class because

Plaintiffs do not “primarily allege omissions,” as required to invoke the narrow

presumption for reliance on pure omissions recognized in Affiliated Ute Citizens of

Utah v. United States, 406 U.S. 128 (1972)?



1
  The “Class Period” is February 25, 2021 through May 5, 2021, and consists of 48
trading days.


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       4.     Should the Court deny certification of a misstatement class because

 Plaintiffs failed to adduce any evidence that damages can be determined on a class-

 wide basis as required by Comcast Corp. v. Behrend, 569 U.S. 27 (2013)?

       5.     Should the Court deny certification of a class for Plaintiff’s insider

 trading claim because the named Plaintiff (Matthew Pearlman) incurred no concrete

 injury and therefore lacks Article III standing, and, in any event, Plaintiff fails to

 define the class in a way that class members are readily ascertainable?




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                    STATEMENT OF CONTROLLING OR
                    MOST APPROPRIATE AUTHORITIES
       The controlling or most appropriate authorities for the relief that Defendants

 seek include:

 1.    Fed. R. Civ. P. 23(b)

 Plaintiffs fail to prove that Rocket’s securities traded in an efficient market, as
 required to invoke the Basic presumption of reliance:
 2.    Basic Inc. v. Levinson, 485 U.S. 224 (1988)

 3.    O’Neil v. Appel, 165 F.R.D. 479 (W.D. Mich. 1996)

 4.    OPERS v. Fed. Home Loan Mortg. Corp., 2018 WL 3861840 (N.D. Ohio
       Aug. 14, 2018)

 Even if Plaintiffs could invoke the Basic presumption of reliance, that
 presumption is rebutted because the challenged statements had no price
 impact:
 5.    Ark. Tchr. Ret. Sys. v. Goldman Sachs Grp., Inc., 77 F.4th 74 (2d Cir. 2023)

 6.    Goldman Sachs Grp., Inc. v. Ark. Tchr. Ret. Sys., 141 S. Ct. 1951 (2021)

 7.    Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258 (2014)

 The Affiliated Ute presumption of reliance does not apply:
 8.    In re Volkswagen “Clean Diesel” Litig., 2 F.4th 1199 (9th Cir. 2021)

 9.    Waggoner v. Barclays PLC, 875 F.3d 79 (2d Cir. 2017)

 Plaintiffs have not proffered a methodology for measuring classwide damages:
 10.   Comcast Corp. v. Behrend, 569 U.S. 27 (2013)

 11.   OPERS v. Fed. Home Loan Mortg. Corp., 2018 WL 3861840 (N.D. Ohio
       Aug. 14, 2018)



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 Plaintiff Pearlman lacks Article III standing to assert an insider trading claim
 and his proposed definition of the insider trading class lacks objective criteria
 to determine membership:
 12.   In re Fed. Nat’l Mortg. Ass’n, 503 F. Supp. 2d 25 (D.D.C. 2007)

 13.   Fridrich v. Bradford, 542 F.2d 307 (6th Cir. 1976)

 14.   Grae v. Corr. Corp. of Am., 57 F.4th 567 (6th Cir. 2023)

 15.   TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021)




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                            PRELIMINARY STATEMENT
          Plaintiffs hope this Court rubber-stamps their proposed classes of purchasers

 of Rocket stock by overlooking their burden to “prove—not simply plead—that their

 [two] proposed class[es] satisfy each requirement of Rule 23.” Halliburton Co. v.

 Erica P. John Fund, Inc., 573 U.S. 258, 275 (2014) (“Halliburton II”).2 Plaintiffs

 brought this action asserting claims on behalf investors in Rocket common stock

 between February 25, 2021 and May 5, 2021. Following prior rulings of this Court

 that narrowed Plaintiffs’ theories by dismissing two of the alleged misstatements,

 this action is now limited to allegations concerning (i) four supposed misstatements;

 and (ii) purported insider trading in connection with a March 29, 2021 stock sale by

 Rock Holdings Inc. (“RHI”) and Daniel Gilbert. Plaintiffs fail to meet their burden

 of demonstrating through rigorous analysis and evidence that they have satisfied the

 requirements for certifying their two proposed classes for their surviving

 misstatement and insider trading claims.

          The misstatement claim.      The requirement to prove individual investor

 reliance “ordinarily would defeat predominance and preclude certification of a

 securities-fraud class action.” Goldman Sachs Grp., Inc. v. Ark. Tchr. Ret. Sys., 141

 S. Ct. 1951, 1959 (2021). To show that common issues predominate for their

 misstatement class as required by Rule 23(b)(3), Plaintiffs must submit reliable


 2
     All internal citations and quotation marks are omitted, unless otherwise specified.
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 evidence to invoke the rebuttable “fraud-on-the-market” presumption of class-wide

 reliance, established in Basic Inc. v. Levinson, 485 U.S. 224 (1988). The Basic

 presumption rests on the theory that “the price of stock traded in an efficient market

 reflects all public, material information—including material misstatements.”

 Halliburton II, 573 U.S. at 263. Thus, investors who buy “stock at the market price

 may be considered to have relied on those misstatements.” Id. But “defendants may

 rebut the Basic presumption at class certification by showing that an alleged

 misrepresentation did not actually affect the market price of the stock.” Goldman,

 141 S. Ct. at 1959. “If a misrepresentation had no price impact, then Basic’s

 fundamental    premise    completely       collapses,   rendering   class   certification

 inappropriate.” Id. Plaintiffs’ misstatement claim cannot be certified because

 Plaintiffs fail to show that common questions of fact and law predominate under

 Rule 23(b)(3) for at least four reasons.

       First, Plaintiffs cannot invoke the Basic presumption because they have not

 met their burden to prove by a preponderance of reliable evidence that Rocket’s

 stock traded in an efficient market throughout the Class Period. The class Plaintiffs

 seek to certify is not your run-of-the-mill securities class where proving market

 efficiency faces limited hurdles. This is not a case with a long class period, a stock

 with years of established public trading history on a major stock exchange, or a

 company with a large volume of publicly traded shares. Instead, the Class Period is



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 a mere two-months (48 trading days); the Class Period begins just six months after

 Rocket became a public company; only 7% of Rocket’s stock is publicly held, with

 nearly all of the remaining 93% held directly or indirectly by Rocket’s founder and

 Chairman Daniel Gilbert; and, perhaps most significantly, during the short two-

 month Class Period Rocket’s stock was targeted on the Reddit forum as a so-called

 “meme stock,” resulting in an irrational trading frenzy by non-professional retail

 investors that is highly indicative of an inefficient market. Tellingly, Plaintiffs do

 not cite a single case that certified a class on facts remotely analogous to those here.

       Yet Plaintiffs and their expert, Chad Coffman (who has no expertise in

 financial economics beyond being a professional plaintiff-side expert), follow the

 same cookie-cutter playbook they use in other cases (including Coffman admitting

 that he copied sections of his report here from reports submitted in other cases) by

 mechanically and incorrectly ticking through the so-called Cammer and Krugman

 factors that courts sometimes apply to aid the holistic assessment of market

 efficiency. As shown by Dr. René Stulz, a world-renowned economist, and as

 discussed further in the accompanying motion to exclude, Coffman’s methodology

 does not comport with industry standards for financial economists, and he ignores

 significant evidence of market inefficiency unique to this case. Coffman relies

 heavily on the Cammer/Krugman factors, but he has admitted that only a properly

 conducted event study is sufficient to show efficiency from a financial economics



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 view—indeed, the Cammer/Krugman factors are at best indicators that a market may

 be efficient, not that it is efficient. In any event, several of those factors are not

 present here, which is a red flag that Rocket’s stock was not efficient during the

 Class Period. Despite knowing that he cannot show market efficiency during the

 very short two-month Class Period, Coffman improperly skews his results by

 (i) removing from his study the days where Rocket experienced meme stock trading

 frenzies (as if they never happened), and (ii) analyzing efficiency over an

 inexplicably long 2.5-year period, which all but ensured that his model would

 produce the result Plaintiffs’ counsel wanted. Coffman’s results-oriented approach

 contravenes economic standards and cannot support a finding of market efficiency.

       Second, even if Plaintiffs met their evidentiary burden for invoking the Basic

 presumption (they have not), Defendants have rebutted the presumption by showing

 that it is “more likely than not that the alleged misrepresentations had [no] price

 impact.” Goldman, 141 S. Ct. at 1963. The Supreme Court’s Goldman decision

 effected a sea change in the law regarding price impact: it recalibrated the scales

 after virtually no court had found that a defendant proved lack of price impact in the

 seven years after the Supreme Court recognized the price impact defense in

 Halliburton II. The Supreme Court clarified that a defendant’s rebuttal burden is a

 mere “preponderance of the evidence,” id.—meaning Defendants need only “make

 the scales tip slightly in [their] favor,” Gjinaj v. Ashcroft, 119 F. App’x 764, 773



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 (6th Cir. 2005). The Supreme Court also rejected the notion that plaintiffs can neuter

 a defendant’s price impact evidence simply by pointing to a stock price decline at

 the end of the class period, which occurs in every case, and then alleging that the

 “price drop is equal to the amount of inflation maintained by the earlier

 misrepresentation.” Goldman, 141 S. Ct. at 1961. Instead, there must be a “[]match

 between the contents of the misrepresentation and the corrective disclosure.” Id.

       Here, Rocket’s stock price did not increase as a result of the challenged

 statements. In addition, there is a glaring “mismatch between the contents of the

 misrepresentation[s] and the corrective disclosure,” thereby “break[ing] down” any

 speculative inference that the generic statements “maintained” inflation in the stock

 price. Id. Indeed, the Second Circuit decertified a class in the first and only appellate

 decision applying the Supreme Court’s new guidance in Goldman for reasons that

 apply equally here: “none” of “the analysts” covering Rocket “reference[d] the

 [challenged] disclosure[s]” either when those statements were made or after the

 alleged corrective disclosure. Ark. Tchr. Ret. Sys. v. Goldman Sachs Grp., Inc., 77

 F.4th 74, 104 (2d Cir. 2023) (“GS III”). That evidence “demonstrate[s], by a

 preponderance of the evidence, that the misrepresentations did not impact [Rocket’s]

 stock price.” Id. at 105.

       Third, the narrow Affiliated Ute presumption for reliance on pure omissions

 does not apply here because the Complaint does not “primarily allege omissions.”



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 In re Volkswagen “Clean Diesel” Litig., 2 F.4th 1199, 1205 (9th Cir. 2021). Even

 if the Affiliated Ute presumption could apply to the one statement Plaintiffs

 characterize as an omission, all eight courts of appeals that have addressed this issue

 have rejected Plaintiffs’ argument that an allegedly false statement transforms into

 an omission subject to the Affiliate Ute presumption merely because defendant

 “fail[ed] to disclose which facts in the representation are not true.” Id. at 1208-09.

       Fourth, under the Supreme Court’s decision in Comcast Corp. v. Behrend,

 569 U.S. 27, 33-35 (2013), before the Court certifies a class, it “must conduct a

 rigorous analysis to determine” whether Plaintiffs have established, through

 “evidentiary proof,” that their “damages are capable of measurement on a classwide

 basis” using a methodology “consistent with [their] liability case.” Plaintiffs and

 their expert make no effort to do so. Instead of presenting a damages methodology

 specific to Plaintiffs’ theory of liability in this case, Coffman merely speculates that

 he can figure out how to do the work later. Although Coffman admits that he took

 this approach at the direction of Plaintiffs’ counsel, his counsel-directed approach is

 not remotely enough to satisfy the Supreme Court’s mandate in Comcast.

       The insider trading claim. No insider trading class can be certified because

 Plaintiff Matthew Pearlman (the only class representative for the insider trading

 claim), incurred no “concrete harm,” and therefore lacks “Article III standing.”

 TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2200 (2021). Because RHI and



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 Gilbert sold their stock in a privately negotiated block trade with Morgan Stanley,

 Pearlman was not harmed by that sale in any way. Pearlman has offered no evidence,

 as he is required to do, that he suffered either an informational or monetary injury.

 Thus, Pearlman has no standing to represent the putative insider trading class. And

 even if Pearlman had standing (which he does not), Plaintiff’s class definition of

 anyone who traded “contemporaneously” with RHI and Gilbert is too vague to

 determine who is in and who is out of the class.

                                  BACKGROUND
       Rocket became a public company in August 2020 during the midst of the

 COVID-19 pandemic. Rocket offered only a small percentage of its stock to the

 public. After the IPO, RHI and Gilbert continued to own directly or indirectly the

 majority of Rocket’s stock. (See Ex. 1 ¶ 107.)

       At the time of Rocket’s IPO, interest rates were at an all-time low, and

 Rocket’s “closed loan volume” (the number of loans originated) and “gain-on-sale

 margin” (a measure of the profitability of each loan) reached historic highs. But

 Rocket warned investors in its IPO prospectus that its “favorable margins” were the

 “result[]” of “interest rates [being at] historic lows” during the then-ongoing

 COVID-19 pandemic, and warned that the inevitable rise in interest rates would

 “significantly impact[]” Rocket’s business. (Ex. 6 at 14, 45-46.) On September 2,

 2020, Rocket’s CFO reiterated to investors that “we’ll probably see those margins



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 come back to more normalized levels.” (Ex. 7 at 8.)

       Unlike most other cases, which involve public companies with established

 public trading histories, Rocket stock had only been trading publicly for six months

 when the alleged misstatements were made. Plaintiffs offer no evidence that any

 investor cared about those statements or that they had price impact.

       February 25, 2021 earnings call (Statement 1). On February 25, 2021,

 Rocket reported its results for Q4 2020, disclosing that 2020 was a “record” year for

 Rocket and that its closed loan volume was the highest in Rocket’s history. (Ex. 8

 at 1-3.) Rocket also issued closed loan guidance for Q1 2021, projecting that closed

 loan volume would decline in Q1 2021 from where it had been in Q4 2020—yet still

 be one of the strongest quarters in Rocket’s history. (Id.) During the earnings call

 that day, Julie Booth (Rocket’s CFO) and Jay Farner (Rocket’s CEO) made their

 now-dismissed statements about “strong” demand, which this Court held were true

 because “consumer demand was the strongest that it had been in the last decade and

 that Rocket grew volume twice as fast as the industry in 2020.” Shupe v. Rocket

 Cos., 2023 WL 2411002, *12 (E.D. Mich. Mar. 8, 2023). Based on the news of this

 strong performance, Rocket’s stock price increased.

       Plaintiffs misconstrue another statement Farner made during the February 25

 earnings call (Statement 1). In particular, Farner expressed confidence that Rocket

 would weather market declines and rising interest rates better than its competitors,



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 because when interest rates “tick up a bit,” Farner predicted that “others tend to step

 away or back away” from the market, and if that happens, “we’re going to see [that]

 is an opportunity for us to lean in to spend more,” resulting in Rocket “grab[bing]

 market share” from competitors and positioning itself favorably as “we get to the

 other side” of the up-and-down interest rate cycle.           (Ex. 5.)3     Based on that

 prediction, Farner opined “[we] don’t see interest rates going up or down, really

 having an impact on our business one way or the other,” which is the snippet

 Plaintiffs strain to construe as a misstatement. Although Farner’s remarks were

 about Rocket’s comparative performance to its competitors across the entire span of

 the up-and-down cycle, Plaintiffs characterize that snippet as promising that “rising

 interest rates would not have any effect on [Rocket’s] mortgage business” in the near

 term despite Rocket’s contrary warning. (Mot. 3, ECF 74, PageID.2449.) Plaintiffs

 offer no evidence that the market construed the statement in this unnatural way.

          March 3, 2021 Morgan Stanley conference (Statement 2). At a March 3,

 2021 Morgan Stanley conference, Farner was asked a multi-part question about the

 “overall volume and business today” of Rocket’s various channels, and “what you

 think that looks like in the very long run.” (Ex. 5.) After a long discussion of

 Rocket’s various channels, Farner concluded by stating the following:

             [W]e don’t break down the percentages, and I’m probably not
 3
     The full text of the challenged statements is set forth in Exhibit 5.



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           going to go any further than what we’ve already laid out in our
           earnings call,4 but as you can probably sense from my passion,
           they’re all growing. And with – what about, less than 10%
           market share wherever we are, it’s hard to say today if you think
           about all those different channels that can grow and give us
           reach, that’s why we get excited about what this company looks
           like in the years to come.
 (Id.) Plaintiffs allege that they construe the three italicized words as a representation

 that “closed loan volume was currently ‘growing’” even though Rocket expressly

 disclosed the opposite six days earlier. (Mot. 3 ECF 74, PageID.2449.) Plaintiffs

 offer no evidence that the market construed the statement that way, and Coffman

 disavowed any “suggesti[on] there was company-relevant news that explains th[e]

 spike in demand on th[at] day”—a spike that resulted from the meme stock trading

 frenzy that Coffman ignores. (Ex. 4 at 293:7-10.)

       March 11, 2021 Fox Business Interview (Statement 3). During a March

 11, 2021 interview on Fox Business, Farner reiterated his prior statements about

 Rocket’s ability to weather market declines, stating that “we’re going to see interest

 rates tick up a little bit here, we’re all aware of that, but over the 35 years that we’ve

 been in business we take that as an opportunity to grow” because “as other people

 pull back and capacity shrinks in the mortgage industry, it gives us a great



 4
   The earnings call refers to Rocket’s guidance for Q1 2021 that it had provided to
 the market six days earlier on February 25, 2021, where Rocket disclosed that it
 projected that its closed loan volume would decline in Q1 2021, falling 4% to 9%
 from $107.2 billion in Q4 2020. (Ex. 8 at 2, 4.)


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 opportunity to grow market share,” especially in products less sensitive to interest

 rates, such as “title, real estate, auto, [and] personal loans.” (Ex. 5.) Farner expanded

 on why Rocket’s historical ability to grow market share in a declining market meant

 that “interest rates moving around are a great benefit to us,” which are the 10 words

 Plaintiffs allege were false while ignoring Farner’s explanation: “when [interest

 rates] drop back down, we’ve got a 90% retention rate on our servicing book; we’ll

 help those clients refinance their mortgage and save money. So, you know, cycles

 are good, at least for our business in the mortgage industry, and I think that’s what

 we’re going to see here this year.” (Id.) Plaintiffs contend that they construed

 Farner’s statement as a representation that “rising interest rates would not have any

 effect on [Rocket’s] mortgage business” without any evidence that the market

 construed the statement that way. (Mot. 3, ECF 74, PageID.2449.)

       March 17, 2021 Twitter post (Statement 4). On March 17, 2021, Farner

 tweeted (and Gilbert re-tweeted) about Rocket’s market share following a March 4,

 2021 announcement by Rocket’s competitor United Wholesale Mortgage (“UWM”)

 that it would not do business with mortgage brokers who work with Rocket. (Ex. 5.)

       May 5, 2021 Alleged Corrective Disclosure. On May 5, 2021, Rocket

 disclosed for the first time its guidance for Q2 2021, projecting that the decline in

 gain-on-sale margin that it previously disclosed to the market would continue in Q2

 2021, but at a faster rate because the “primary secondary spread,” a publicly



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 available metric, began to “compress[]” faster than Rocket and the market had

 expected at the time Rocket made the alleged misstatements. (AC ¶¶ 284-86, ECF

 42, PageID.1152-53.) Plaintiffs offer no evidence that Rocket’s stock price declined

 because the market learned that Rocket’s prior statements were untrue, as opposed

 to learning that macroeconomic conditions were worsening faster than anticipated,

 which only became apparent after the alleged misstatements were made.

                                    ARGUMENT
       “[P]laintiffs wishing to proceed through a class action must actually prove—

 not simply plead—that their proposed class satisfies each requirement of Rule 23.”

 Halliburton II, 573 U.S. at 275. “The district court must conduct a rigorous analysis”

 of each Rule 23 requirement, notwithstanding any “overlap with the merits.” Davis

 v. Cintas Corp., 717 F.3d 476, 484 (6th Cir. 2013). Despite Plaintiffs’ effort to

 portray certification of securities actions as routine (Mot. 6, ECF 74, PageID.2452),

 the Supreme Court has made clear that certification “is proper only if the trial court

 is satisfied, after a rigorous analysis, that the prerequisites of [Rule 23]” are met.

 Comcast, 569 U.S. at 33.

 I.    The Court Should Deny Certification of the Misstatement Class Because
       Plaintiffs Fail To Prove That Common Issues Will Predominate Over
       Individual Issues.

       A.     The Basic Presumption of Reliance Is Unavailable Because
              Plaintiffs Fail To Prove that Rocket’s Securities Traded in an
              Efficient Market.
       “To invoke the Basic presumption, [] [P]laintiff[s] must prove” that Rocket’s

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 “stock traded in an efficient market.” Goldman, 141 S. Ct. at 1958. Because

 Plaintiffs bear the burden of proof on each of Rule 23’s requirements, “[t]o defeat

 the presumption of reliance, defendants do not . . . have to show an inefficient

 market. Instead, they must demonstrate that plaintiffs’ proffered proof of market

 efficiency falls short of the mark.” IBEW v. Deutsche Bank AG, 2013 WL 5815472,

 at *20 (S.D.N.Y. Oct. 29, 2013). Plaintiffs’ proof unquestionably falls short.

       Plaintiffs plod through the factors identified in Cammer v. Bloom, 711 F.

 Supp. 1264 (D.N.J. 1989), and Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex.

 2001), as supposedly indicative of market efficiency.         (Mot. 16-23, ECF 74,

 PageID.2462-69.)5 But Plaintiffs admit that the Cammer/Krogman factors are not a

 “checklist” (id. at 16, PageID.2462), and their expert admits that, aside from an event

 study (Cammer 5), none of the other Cammer/Krogman factors “directly” test for

 market efficiency and are merely “precursor facts” that must exist for a “market

 mechanism to work” (Ex. 4 at 235:21-236:11). The only Cammer/Krogman factors

 that support Plaintiffs are the ones providing the weakest indirect evidence of market

 efficiency, such as analyst coverage and the number of market makers. But, as Dr.

 5
   The Cammer factors are: (i) average weekly trading volume, (ii) analyst reporting,
 (iii) number of market makers and arbitrageurs, (iv) eligibility to file SEC Form S-
 3, and (v) “empirical facts showing a cause and effect relationship between
 unexpected corporate events or financial releases and an immediate response in the
 stock price.” Cammer, 711 F. Supp. at 1286-87. The Krogman factors are:
 (i) “market capitalization,” (ii) “bid-ask spread,” and (iii) “percentage of stock not
 held by insiders (the ‘float’).” Krogman, 202 F.R.D. at 474, 478.


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 Stulz opines, Plaintiffs and their expert ignore glaring indicators of inefficiency

 during the Class Period—including that Rocket’s stock experienced a meme-stock

 trading frenzy on March 2 and 3, 2021 that caused Rocket’s stock price to spike not

 because of new Rocket-specific positive news, but because of irrational trading.

 Moreover, Coffman’s event study, the only direct evidence of efficiency Plaintiffs

 proffer, is fatally flawed and does not even attempt to answer the question of whether

 Rocket’s stock was efficient during the two-month Class Period.

              1.    Plaintiffs cannot prove market efficiency because Rocket’s
                    stock experienced a meme-stock trading frenzy during the
                    short two-month Class Period.
       The short two-month Class Period in this case included a period of profound

 dislocation in Rocket’s stock as a result of the meme stock trading frenzy on March 2

 and 3, 2021, which Coffman described as “a unique and unusual event.” (Ex. 4 at

 275:21-276:14.) Unlike in an efficient market where prices are “rarely too high or

 too low” and “new, value-relevant public information” about the company drives

 changes in the stock price, during March 2 and 3, 2021, Rocket’s stock price was

 driven by enthusiasm on Reddit and Twitter, and not by new, value-relevant

 information about Rocket. (Ex. 1 ¶¶ 28, 61-77.) Social media users decided to make

 Rocket’s stock price shoot up apparently just because they liked the rocket emoji

 (🚀), which they used as their rallying cry for driving up the price of stocks “to the

 moon” through coordinated irrational trading. (Id. ¶¶ 62-63.)


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       As Dr. Stulz explains, “meme stock” behavior is “inconsistent with market

 efficiency because investor coordination” causes “abrupt changes in prices without

 any new, value-relevant public information.” (Id. ¶ 52.) The academic literature

 also shows that irrational trading behavior has long lasting effects by “hinder[ing]

 the functioning of the mechanisms that make markets efficient.” (Id.) When “a

 stock becomes subject to irrational forces, . . . efforts to trade on new, value-relevant

 public information can lead to large losses,” which discourages trading by short

 sellers “who aid in making markets efficient.” (Id. ¶ 78.) The resulting short selling

 constraints compound and exacerbate the market inefficiency brought about by a

 meme stock trading frenzy. Although meme stocks are a new phenomenon, the

 study of short selling constraints is not. Indeed, the role of short selling is so

 important to a functioning efficient market that at least one court has held that a

 plaintiff failed to prove efficiency where their expert “failed to consider the[]

 impact” of “short sale bans” during part of the class period. IBEW, 2013 WL

 5815472, at *21. Coffman likewise failed to account at all for the short sale

 constraints following the meme stock event.

       Here, there is no dispute that Rocket was a meme stock during the Class

 Period. Analysts called Rocket the next “meme stock” (Ex. 1 ¶ 73), and Coffman

 acknowledges, but then proceeds to ignore, that Rocket’s stock price “spike[d]” on

 March 2 and 3, 2021 due to irrational trading “fueled by investors on the Reddit



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 forum . . . encouraging each other to buy Rocket Common Stock.” (Coffman ¶ 29

 n.36, ECF 74-2, PageID.2492.)         At his deposition, Coffman disavowed any

 “suggesti[on] there was company-relevant news that explains that spike in demand

 on those day[s].” (Ex. 4 at 293:7-10.) In other words, the market was not efficient.6

       Dr. Stulz also shows that it would be incorrect to assume that the market was

 inefficient for just those two days of meme stock trading. Meme stock events can

 discourage short sellers from entering the market, which can result in lingering

 market inefficiency after the trading frenzy ends. Short sellers “bet on stocks falling

 in value” and “play[] an important role in making markets efficient.” (Ex. 1 ¶¶ 21,

 78.) Indeed, “[a]cademic research has found that stocks tend to underreact to

 negative news and overreact to positive news when there are short sale constraints.”

 (Id. ¶ 88.) When the market becomes volatile, and irrational trading causes a stock

 to be overvalued, it becomes riskier for short sellers to place bets, and market

 efficiency suffers. (Id.) During a meme stock phenomenon, academic researchers

 have found that extreme volatility leads to persistent short-sale constraints, harming



 6
   Coffman’s testimony that Rocket’s stock was nonetheless efficient on March 2 and
 3 makes no sense. He testified that the price spike due to the irrational “meme stock”
 trading frenzy “doesn’t necessarily mean it’s inefficient. It means there is another
 factor on top of the fundamental value relevant information that is affecting” the
 stock price. (Ex. 4 at 291:16-21.) But that is the very definition of an inefficient
 market because this additional factor means that “the stock price does not function
 as a reliable proxy for publicly available information.” In re Jan. 2021 Short
 Squeeze Trading Litig., No. 21-md-2989, slip op. 51 (S.D. Fla. Nov. 13, 2023).


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 efficiency. (Id. ¶¶ 59-60, 66-94.) Coffman agrees that “short-selling frictions can

 lead to periods of market inefficiency.” (Ex. 4 at 270:2-7.)

       Dr. Stulz found evidence of this effect during the Class Period. Short sellers

 retreated from the market after “coordinated” investing by irrational retail investors

 in early March 2021 drove up Rocket’s stock price, which encouraged a “short

 squeeze.” (Ex. 1 ¶¶ 52, 62.)7 Dr. Stulz found that “after the attempted short squeeze

 in early March 2021, the level of short interest for Rocket stock remained low

 through April 2021”—spanning nearly the entire February 25 to May 5, 2021 Class

 Period. (Ex. 1 ¶ 82.) These are “characteristics that the academic literature has

 found are inconsistent with market efficiency” (id. ¶ 53), but Coffman never

 addresses this issue. That glaring omission alone precludes a finding of market

 efficiency. See IBEW, 2013 WL 5815472, at *21.

              2.    Coffman’s event study (Cammer 5) is fundamentally flawed
                    and does not answer the question of whether the market
                    was efficient during the Class Period.
       A properly conducted event study producing “evidence of a cause-and-effect

 relationship between unexpected news and market price” (i.e., Cammer 5) is “the


 7
   A short seller profits when stock prices go down. Short sellers borrow the stock
 from one investor and then later buy the stock in the open market (hopefully at a
 cheaper price) and return the shares to the lending investor. A short squeeze can
 occur where coordinated trading drives up the stock price, which pressures short
 sellers to buy the stock at inflated prices to close out their positions to minimize
 losses. That further increases demand for the stock, which drives up the price even
 higher, putting even more pressure on any remaining short sellers. (Ex. 1 ¶ 22 n.34.)


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 sine qua non of efficiency.” In re Fed. Home Loan Mortg. Corp., 281 F.R.D. 174,

 182 (S.D.N.Y. 2012). Plaintiffs are incorrect that establishing Cammer 5 is “not

 necessary.” (Mot. 20, ECF 74, PageID.2466.) Their own expert agreed that no

 “respectable financial economist” could “submit an article to a peer-reviewed

 journal, and say, I’ve shown efficiency with respect to a company’s stock by relying

 on the first four Cammer factors and the Krogman factors.” (Ex. 4 at 236:12-24.)

 That is why “Cammer 5 has been considered the most important Cammer factor in

 certain cases because it assesses ‘the essence of an efficient market and the

 foundation for the fraud on the market theory.’” Waggoner v. Barclays PLC, 875

 F.3d 79, 97 (2d Cir. 2017). Indeed, “[d]irect evidence of an efficient market may be

 more critical” where, as here, “the other four Cammer factors (and/or the Krogman

 factors) are less compelling in showing an efficient market,” and there are significant

 indicia of inefficiency. Id. at 98; see OPERS v. Fed. Home Loan Mortg. Corp., 2018

 WL 3861840, at *16 (N.D. Ohio Aug. 14, 2018) (“The fifth factor maintains its

 prominence following Halliburton II” as “the ‘most important’ factor.”).8

       Event studies are financial economists’ standard tool for testing whether a



 8
   Plaintiffs cite a few cases holding that plaintiffs proved efficiency “without regard
 to the fifth Cammer factor.” Dougherty v. Esperion Therapeutics, Inc., 2020 WL
 3481322, at *7 (E.D. Mich. June 19, 2020); Mot. 20, ECF 74, PageID.2466. But
 none of them involved the unusual facts of this case that raise significant red flags
 for efficiency (e.g., a newly public company, limited liquidity, and a very short class
 period that coincides with a meme-stock trading frenzy).


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 market is efficient. Event studies use a form of statistical analysis called regression

 analysis to “isolate[] the stock price movement attributable to a company (as

 opposed to market-wide or industry-wide movements) and then examine[] whether

 the price movement on a given date is outside the range of typical random stock

 price fluctuations observed for that stock.” GS III, 77 F.4th at 86 n.5. But not all

 event studies are created equal. “[S]tatistics are pliable,” and “must be consulted

 cautiously.” Mandala v. NTT Data, Inc., 975 F.3d 202, 205 (2d Cir. 2020). Coffman

 purports to conduct an event study, but his analysis is fatally flawed for numerous

 reasons set out more fully in the accompanying motion to exclude.

       First, Coffman acknowledges that Rocket’s stock price “spike[d]” on March

 2 and 3, 2021 due to irrational trading “fueled by investors on the Reddit forum.”

 (Coffman ¶ 29 n.36, ECF 74-2, PageID.2492.) But rather than confront how that

 seismic jolt impacts the efficiency of Rocket’s stock, Coffman simply removes those

 days from his event study (as if they never happened) precisely because this data

 undermines the opinion he wants to give. Coffman admitted that he did not establish

 any ex ante rule for identifying those purported “outliers.” (Ex. 4 at 298:19-24.) As

 Coffman states, including days indicative of market inefficiency in his event study

 would “distort the results” of his results-driven approach, so he removed them.

 (Coffman ¶ 52 n.63, ECF 74-2, PageID.2502; Ex. 4 at 274:10-15.)

       As Dr. Stulz explains, Coffman’s removal of those days was “arbitrary” and



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 “not appropriate given [] the purpose of his analysis.” (Ex. 1 ¶ 98.) In fact, the

 academic literature establishes that the “arbitrary deletion of extreme stock return

 observations can lead to incorrect inferences.” (Id. ¶ 104.) The reason is obvious:

 if one is attempting to determine if a market is efficient during a 48-day period,

 removing days when the market is known to be inefficient obviously biases the

 results in favor of finding that the market is efficient. Coffman’s “results-oriented

 mode of economic analysis is not acceptable.” Nilavar v. Mercy Health Sys., 2005

 WL 8162667, at *8 (S.D. Ohio June 2, 2005). “[C]ourts have consistently excluded

 expert testimony that ‘cherry-picks’ relevant data.” In re Lipitor, 892 F.3d 624, 634

 (4th Cir. 2018). Indeed, as Dr. Stulz shows, if Coffman did not exclude his purported

 “outlier days” from his autocorrelation test, “he would have found a significant

 autocorrelation for Rocket stock . . . , which, in Mr. Coffman’s own words, ‘would

 suggest market inefficiency.’” (Ex. 1 ¶ 103.)

       Second, instead of analyzing Rocket’s stock during the two-month Class

 Period of February 25 to May 5, 2021, Coffman improperly uses a 2.5-year period

 of September 4, 2020 to May 5, 2023 in his event study to skew his results. Markets,

 however, are not static. Instead, “[a]cademic literature demonstrates that even if

 markets are generally efficient, stocks can experience episodes of inefficiency,” such

 as “market frictions”—as occurred here during the two-month Class Period—thus

 requiring “careful empirical investigation of efficiency for each security and



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 timeframe.” (Ex. 1 ¶¶ 25, 29-32.) It is thus well established that markets can be

 efficient in one period but not in other periods. See Brokop v. Farmland Partners

 Inc., 2021 WL 4913970, at *4 (D. Colo. Sept. 30, 2021) (declining to certify class

 during period where efficiency not shown).

       Coffman admitted that he never tested whether his 2.5-year period is

 representative of the two-month Class Period (Ex. 4 at 337:15-20), even though that

 is standard practice in any statistical analysis (Ex. 1 ¶¶ 127, 135). But Dr. Stulz did

 those tests, and he shows that the behavior of Rocket’s stock price during the two-

 month Class Period is “statistically different” than the rest of Coffman’s 2.5-year

 period. (Id. ¶¶ 127-37.) As a result, “it is error” to draw any “statistical inferences”

 about the short two-month Class Period based on Coffman’s analysis of his

 “[non]representative” 2.5-year period. Mandala, 975 F.3d at 211-12. To give a

 simple example, a study of traffic patterns on Woodward Avenue over a full year

 would be unhelpful in determining how long it would take to drive down Woodward

 Avenue during Dream Cruise weekend. It is the same here. Coffman’s analysis of

 Rocket’s stock over a 2.5-year period is plainly intended to mask his failure to

 establish that the market was efficient during the two-month Class Period, which

 comprises just 7% of the period in Coffman’s event study. Because “what is true of

 the whole is not necessarily true of its parts,” the Court should reject the “statistical

 fallacy” that Coffman posits. Id. at 205, 212.



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               3.   Other Cammer/Krogman factors are inconsistent with
                    market efficiency.

       Rocket’s low public float (Krogman 3) reinforces the lack of market

 efficiency.   Coffman states that “insiders held, on average, just 0.44% of all

 outstanding shares of Rocket Common Stock,” and therefore concludes that Rocket

 had a large public float. (Coffman ¶ 72, ECF 74-2, PageID.2512.) But Coffman is

 wrong. As this Court acknowledged in a prior decision, “Gilbert and RHI own

 ‘99.9% of Rocket’s outstanding Class D Common Stock and 93.1% of Rocket’s

 Class A Common Stock on a fully exchanged and converted basis.’” Shupe, 2023

 WL 2411002, at *4.9 Because only a tiny amount of Rocket’s stock is publicly

 traded, the lack of liquidity makes it significantly more likely that movements in

 Rocket’s stock price were driven by supply-and-demand dynamics and short-sale

 constraints rather than new company-related information, which is the premise of

 the Basic presumption. (Ex. 1 ¶¶ 119-25.) The lack of liquidity “impair[s] market

 efficiency,” but also has a ratchet effect that “exacerbates” the market inefficiency

 from the meme stock trading frenzy. (Id. ¶ 42.) Coffman agrees, testifying that “a

 small public float can exacerbate short-selling frictions.” (Ex. 4 at 270:12-20.)


 9
   To arrive at his incorrect conclusion that the public owns 99% of Rocket’s stock,
 Coffman pretends that the Class D stock that RHI and Gilbert own do not exist. But
 that ignores the economic realities. As Dr. Stulz shows, RHI and Gilbert’s Class D
 shares could be easily and immediately converted to Class A shares and sold on the
 market, which is why Rocket treated these two classes of stock as equivalent for
 earnings purposes, as did analysts covering Rocket. (Ex. 1 ¶¶ 105-18.)


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       Rocket was not eligible to file annual reports on SEC Form S-3

 (Cammer 4). In assessing efficiency, courts consider whether the company was

 eligible to file short-form annual reports on SEC Form S-3—which is only available

 for large established companies that, among other things, have been publicly traded

 for more than a year—because “[e]ligibility to file the S-3 form is predicated upon

 the SEC’s belief that the market for the company’s stock already operates efficiently

 and that further disclosure is unnecessary, as the market price has already accounted

 for relevant information.” O’Neil v. Appel, 165 F.R.D. 479, 502 (W.D. Mich. 1996).

 Because Rocket had been a public company for only six months at the start of the

 two-month Class Period, Rocket was not eligible to use Form S-3 at any point during

 the two-month Class Period. (Ex. 4 at 308:5-16.) “Although ineligibility does not

 automatically disqualify a company from a finding of an efficient market, this factor

 weighs heavily against a finding of efficiency.” O’Neil, 165 F.R.D. at 502.10

       B.     Even if Plaintiffs Could Invoke the Basic Presumption (They
              Cannot), that Presumption Is Rebutted Because the Challenged
              Statements Had No Price Impact.
       In Halliburton II, the Supreme Court held that a defendant can rebut the Basic



 10
    Coffman states that because Rocket met all the requirements for S-3 eligibility
 except for the most important one (i.e., being a publicly traded company for more
 than a year), “Rocket meets the spirit of this Cammer efficiency factor.” (Coffman
 ¶ 45, ECF 74-2, PageID.2498.) Coffman cites no support for his “ipse dixit”
 assertion, Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997), and neither do
 Plaintiffs (see Mot. 19 n.7, ECF 74, PageID.2465).


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 presumption at class certification by showing that “the asserted misrepresentation

 (or its correction) did not affect the market price.” 573 U.S. at 279-280. After

 Halliburton II, however, lower courts almost never found that a defendant

 successfully rebutted the Basic presumption. Thus, in Goldman, the Supreme Court

 clarified that a defendant’s rebuttal right was not an empty promise. Rather than

 impose on defendants a nearly impossible burden to “rule out” all possibility of

 “price impact whatsoever,” as some district courts had required, Monroe Cnty. v. S.

 Co., 332 F.R.D. 370, 395 (N.D. Ga. 2019), the Supreme Court made clear that the

 “court’s task is simply to assess all the evidence of price impact—direct and

 indirect—and determine whether it is more likely than not that the alleged

 misrepresentations had a price impact,” Goldman, 141 S. Ct. at 1963. The Supreme

 Court also clarified that courts “must take into account all record evidence relevant

 to price impact, regardless whether that evidence overlaps with materiality or any

 other merits issue.” Id. at 1961. Thus, courts “should be open to all probative

 evidence on that question—qualitative as well as quantitative—aided by a good dose

 of common sense.” Id. at 1960. Under that “common sense” framework, the “[t]he

 generic nature of a misrepresentation often will be important evidence of a lack of

 price impact,” because “a more-general statement will affect a security’s price less

 than a more-specific statement on the same question.” Id. at 1960-61.

       Defendants have easily met their burden of proving that “it is more likely than



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 not” that each of the alleged misstatements (which the Court must assess statement-

 by-statement) had no price impact. Id. at 1963.11

              1.     Farner’s February 25, 2021 comments had no price impact.
       Plaintiffs contend that they construed a snippet from Farner’s remarks about

 weathering market declines better than competitors as promising that “rising interest

 rates would not have any effect on [Rocket’s] mortgage business.” (Mot. 3, ECF 74,

 PageID.2449.) “[I]t is more likely than not” that the snippet Plaintiffs isolate out of

 context had no price impact. Goldman, 141 S. Ct. at 1963.

       First, “[t]he generic nature of a misrepresentation often will be important

 evidence of a lack of price impact.” Goldman, 141 S. Ct. at 1961. Farner’s statement

 (“[we] don’t see interest rates going up or down, really having an impact on our

 business one way or the other”) is precisely the kind of “loosely optimistic

 statement[]” that is “numbingly familiar to the marketplace” and which would not

 be expected to have price impact because “no reasonable investor could find [the

 statement] important.” In re Ford Motor Co., 381 F.3d 563, 571 (6th Cir. 2004).12


 11
   Courts must assess price impact statement-by-statement. See GS III, 77 F.4th at
 94 (“clearly erroneous” to lump together “statements [that] were separately
 disseminated . . . in separate reports at separate times”); Ramirez v. Exxon Mobil
 Corp., 2023 WL 5415315, at *22 (N.D. Tex. Aug. 21, 2023) (conducting statement-
 by-statement analysis and finding no price impact for some statements); In re
 Qualcomm, 2023 WL 2583306, at *17 (S.D. Cal. Mar. 20, 2023) (same).
 12
   In the motion to dismiss decision, the Court acknowledged that “no reasonable
 investor” would rely on a “vague” statement “lacking in specificity,” but stated that


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       Second, no analyst covering Rocket mentioned the snippet Plaintiffs allege as

 false. (Ex. 2 ¶¶ 55-68.) That “none of [the analysts] reference[d] the disclosure” is

 powerful evidence that the “misrepresentation[] did not impact [Rocket’s] stock

 price.” GS III, 77 F.4th at 104-05. That is because a statement has “price impact”

 only if it “prop[s] up the price,” which “requires some indication that investors relied

 upon the [] disclosure as written.” Id. at 100. Here, there is none, which is

 unsurprising because “professional investors, and most amateur investors as well,

 know how to devalue” the “vague statements of optimism . . . of corporate

 executives.” Macomb Cnty. v. Align Tech., Inc., 39 F.4th 1092, 1099 (9th Cir. 2022).

       What is more, there is no evidence that any analyst relied on Farner’s

 statement as a guarantee that “rising interest rates would not have any effect on

 [Rocket’s] mortgage business” (Mot. 3, ECF 74, PageID.2449), much less that they

 “drew that conclusion from [Farner’s] disclosure” as required to show price impact,

 GS III, 77 F.4th at 104. This further reinforces the opinion of Dr. Starks, an expert


 a vague statement about a “key internal metric[] for profitability” is “differen[t]” for
 purposes of materiality at the pleading stage. 2023 WL 2411002, at *12. In the
 context of price impact, however, the question is not whether the statement
 concerned an “important” “subject,” but whether there is evidence that “the
 disclosure as written is specific enough to evoke investor reliance.” GS III, 77 F.4th
 at 101, 103-04. The Sixth Circuit agrees. Even if a “topic [i]s important,” what
 matters is “what particularly was represented.” J & R Mktg. v. Gen. Motors Corp.,
 549 F.3d 384, 396 (6th Cir. 2008). Thus, irrespective of a subject’s importance, a
 “loosely optimistic” statement about any metric is “‘too squishy, too untethered to
 anything measurable,’” for any “reasonable investor [to] rely” on. Id.



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 in investor decision-making, that no reasonable market professional would have

 construed Farner’s statement that way. (See Ex. 2 ¶¶ 38-49, 55-68.)13 That also is

 consistent with Judge Kumar’s recent holding that “rising interest rates pose an

 obvious risk to mortgage lenders, which investors could be expected to understand.”

 In re Home Point Cap. Inc. Sec. Litig., 2022 WL 18932069, at *4 (E.D. Mich. Oct.

 5, 2022). Although one analyst (Credit Suisse) touched on Farner’s overall remarks,

 Credit Suisse did not misconstrue Farner’s words as a guarantee that Rocket was

 impervious to rising interest rates.      (See Ex. 2 ¶ 61.) Instead, Credit Suisse

 “remain[ed] Neutral on [Rocket] given recently . . . rising interest rates,” because

 “the magnitude at which rates move should affect volumes going forward” and the

 “effect on GOS margins (pushing them lower) should start to be felt more fully in

 Q2.” (Ex. 11 at 1, 3.) Other analysts covering Rocket recognized that rising interest

 rates were a significant risk to Rocket. (Ex. 2 ¶¶ 45-47.)14


 13
   Plaintiffs’ professed idiosyncratic interpretation of Farner’s statement is irrelevant
 to price impact because “[n]one of the plaintiffs asserts that he read” it. Asher v.
 Baxter Int’l Inc., 377 F.3d 727, 731 (7th Cir. 2004). Rather, the theory underlying
 the Basic presumption is that “professional traders” and “securities analysts[] did the
 reading, and that they made trades or recommendations that influenced the price.”
 Id.; see Ockerman v. May Zima & Co., 27 F.3d 1151, 1158 (6th Cir. 1994) (same).
 14
    See, e.g., Ex. 12 (2/26/21 GS report) (“[I]nvestors will likely remain concerned
 about the trajectory of gain on sale margins given the recent back up in interest rates
 and recent moves higher in mortgage rates, . . . [and] will likely remain concerned
 in the near term about the potential for GoS [margin] to overshoot to downside.”);
 Ex. 13 (2/26/21 Wolfe report) (Although “RKT is uniquely positioned to take
 [market] share . . . in 2021,” the “normalization in GOS margins should be


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        This evidence refutes any notion that Farner’s words “as [spoken]” had price

 impact. GS III, 77 F.4th at 100. If the “statement[] w[as] [not] consciously relied

 upon, in the moment, by investors evaluating [Rocket],” it cannot “be that the

 statement impacted [Rocket’s] stock price.” Id.; see Qualcomm, 2023 WL 2583306,

 at *12 (“generic statements” had no price impact, and rejecting plaintiffs’

 speculation about how the market “interpreted the[] generic statements”).

        Third, Plaintiffs cannot rely on the “inflation-maintenance theory” to support

 an inference that “the stock’s price would have fallen ‘without the false statement.’”

 Goldman, 141 S. Ct. at 1961. As the Supreme Court explained, “Plaintiffs typically

 try to prove” price impact under the inflation-maintenance theory by “point[ing] to

 a negative disclosure about a company and an associated drop in its stock price;

 alleg[ing] that the disclosure corrected an earlier misrepresentation; and then

 claim[ing] that the price drop is equal to the amount of inflation maintained by the

 earlier misrepresentation.” Id. “But that final inference—that the back-end price

 drop equals front-end inflation—starts to break down when there is a mismatch

 between the contents of the misrepresentation and the corrective disclosure.” Id.


 expected.”); Ex. 14 (3/1/21 Zelman report) (“As widely expected, gain-on-sale
 margins are compressing from historically-robust levels in 2020. . . . While our
 industry capacity analysis is a factor in our expectations for further compression, the
 recent volatility in the 10-year Treasury also leads us to skew more cautiously for
 the remainder of 2021 and into 2022.”); Ex. 15 (3/3/21 JPM report) (“Our relatively
 cautious thesis reflects our view that . . . higher interest rates, . . . declining refi apps
 and tighter primary/secondary spreads represent looming headwinds.”).


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 Thus, where, as here, “a stock price decline follows a back-end, highly detailed

 corrective disclosure[,] . . . courts must be skeptical whether the more generic, front-

 end statement propped up the price to the same extent.” GS III, 77 F.4th at 102.

 Because price impact focuses on whether “investors relied upon the [statement] as

 written,” the inflation maintenance theory is viable only if the plaintiff proves that

 “a truthful—but equally generic—substitute for the alleged misrepresentation would

 have impacted the stock price.” Id. at 100, 102 (emphasis in original).

       As in GS III, the rigorous mismatch analysis that Goldman requires precludes

 a finding that Farner’s statement had price impact. The highly specific “corrective

 disclosure” on May 5, 2021 that Rocket projected gain-on-sale margin for Q2 2021

 of 2.65% to 2.95%, cannot “do the work of proving front-end price impact” of the

 vaguely optimistic snippet Plaintiffs challenge, because that highly specific

 “substitute looks nothing like the original” statement. Id. at 99-100.15 By contrast,

 Rocket’s stock price did not decline in a statistically significant way when Rocket



 15
    At the motion-to-dismiss stage, the Court held that Plaintiffs adequately alleged
 that the purported corrective disclosure was sufficiently “relate[d] to” the challenged
 statements to plead loss causation. Shupe, 2023 WL 2411002, at *18. But at class
 certification, the Court must rely on evidence, not Plaintiffs’ allegations. Moreover,
 “whether there is a basis to infer that the back-end price [drop] equals front-end
 inflation [] is a different question than loss causation, and, in light of Goldman,
 requires a closer fit (even if not precise) between the front- and back-end
 statements.” GS III, 77 F.4th at 99 n.11. Thus, even if there were a “front-end—
 back-end subject matter match,” that “does not meaningfully account for the
 Supreme Court’s guidance in Goldman.” Id. at 100-01.


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 “spoke[] truthfully at an equally generic level” in its March 24, 2021 10-K, id. at 99

 (emphasis in original); Ex. 26 at 2 (Coffman data re 3/24/21 price movement):

           Challenged Snippet                          Truthful Substitute
  “[We] don’t see interest rates going up   “Our business is significantly impacted
  or down, really having an impact on       by interest rates. Changes in prevailing
  our business one way or the other.”       interest rates . . . may have a
  (Ex. 5.)                                  detrimental effect on our business.”
                                            (ECF 50-3, PageID.1733.)

       Lastly, “none of [the analysts] reference[d]” Farner’s statement after the

 alleged corrective disclosure or attributed the stock price decline on May 5 to

 learning that Farner’s statement was untrue, which rebuts Basic and “sever[s] the

 link between back-end price drop and front-end misrepresentation.” GS III, 77 F.4th

 at 104; see Ex. 2 ¶¶ 89-92. Instead, analysts attributed the stock price decline on

 May 5 to the intervening market event that the primary-secondary spread began to

 compress faster in late-March/early-April 2021 (after the alleged misstatements),

 and, as a result, the expected decline to normalized gain-on-sale margins from the

 record highs during 2020 would be less gradual than the market had expected. 16

 16
   See Ex. 22 at 1 (Citi 5/6/21 report) (“We knew that gain on sale [] margins were
 going to come down from record high levels of 2020, but we thought it’d be more
 gradual and take a bit longer.”); Ex. 18 at 2 (“RKT provided 2Q guidance below
 consensus expectations and noted that margins are normalizing much faster than
 previously expected.”); Ex. 19 at 1 (JPM 5/5/21 report) (“We expect shares to trade
 lower on guidance that suggests GoS margins are normalizing more rapidly than
 previously assumed.”); Ex. 21 at 1 (Barclays 5/6/21 report) (“The increase in rates
 has led to strengthening competition and pressuring margins faster than
 anticipated.”); Ex. 20 at 1 (Keefe 5/5/21 report) (“We would expect some weakness
 on the 2Q guidance reflecting GOS margins normalizing more quickly than


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 Indeed, analysts at Morgan Stanley concluded that Rocket’s May 5 disclosure

 confirmed that Rocket’s public statements since the September 2020 IPO were true:

          From our initiation (Aug 20, 2020), . . . we had expected
          [Rocket’s] closely watched gain on sale margin would gradually
          return to more normalized level of ~2.5-3%, vs the 5.2% at the
          peak in 2020. And anticipating that eventual normalization,
          [Rocket] management has always clearly communicated that the
          plan is to sustain investment with the intention of gaining
          [market] share, which would be best monetized in future market
          upswings. As such, we generally see evolving conditions and the
          company’s reaction as generally consistent with our medium-
          term views, even as rising interest rates and the cooling of the
          mortgage market may have started a bit sooner than we had
          anticipated earlier in the year.
 (Ex. 24 at 1(MS 5/6/21 report) (emphasis added).

             2.     Farner’s March 3, 2021 comments had no price impact.
       As discussed, Plaintiffs take out of context three words from Mr. Farner’s

 remarks at the March 3, 2021 Morgan Stanley conference and construe them as a

 representation that “closed loan volume was currently ‘growing,’” despite Rocket’s

 statement to the contrary. (Mot. 3 ECF 74, PageID.2449.) “[I]t is more likely than

 not” that those three words had no price impact. Goldman, 141 S. Ct. at 1963.

       First, Coffman concedes that Rocket’s stock price on March 3, 2021 did not

 move based on anything Farner said, but instead was driven by a meme stock trading

 frenzy. (Coffman ¶ 29 n.36, ECF 74-2, PageID.2492; Ex. 4 at 293:7-10.)



 expected.”) (all emphasis added).


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       Second, no analysts covering Rocket discussed the three allegedly false

 words. (Ex. 2 ¶ 71.) Morgan Stanley was the only analyst that discussed Farner’s

 March 3 remarks at all, and it construed Farner’s overall discussion of “rising

 interest rates” not as a representation that closed loan volume would rise, but instead

 that “the company believes that its diverse portfolio of offerings will help it weather

 challenging interest environments better than its competitors, potentially offering

 market share gain opportunities.” (Ex. 16 at 1 (3/4/21 MS report).) Far from relying

 on Farner’s statement as a representation that volumes would increase, Morgan

 Stanley projected Rocket’s Q2 2021 closed loan volume to be $87.3 billion—a 12%

 decline from its projection for Q1. (Ex. 17 at 5 (3/9/21 MS report).) This refutes

 the notion that the market relied on Farner’s March 3 remarks as a representation

 that “closed loan volume was currently ‘growing.’” (Mot. 3 ECF 74, PageID.2449.)

       Third, Plaintiffs cannot rely on the “inflation-maintenance theory” based on

 the stock-price drop on the May 5, 2021 alleged corrective disclosure. Far from

 correcting the three allegedly false words, Rocket disclosed that the actual closed

 loan volume of $103.5 billion for Q1 2021 was higher than the $98 to $103 billion

 range Rocket projected on February 25, 2021 (before the March 3 statement). (Ex. 9

 at 2.) Nor did any analyst conclude that Rocket’s closed-loan-volume guidance for

 Q2 2021 corrected any misimpression from the three allegedly false words that

 volume was rising. To the contrary, Rocket’s guidance of “$82.5B-$87.5B” was



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 only “a touch below consensus at $89B.” (Ex. 18 at 2 (5/5/2021 BofA report).)

 Moreover, that consensus estimate of $89 billion for Q2 2021 represented a 9% to

 14% decline from Rocket’s guidance for Q1 2021. (Id. at 3.) In other words, despite

 Farner’s statement, analysts had expected Rocket’s volumes to decline.

       Lastly, no analyst attributed the stock price decline on May 5 to learning that

 Farner’s statement was untrue. (Ex. 2 ¶¶ 89-92.) Instead, as discussed above,

 analysts attributed the stock price decline on May 5 to faster than expected changes

 in macroeconomic conditions. See Ramirez, 2023 WL 5415315, at *16-17 (no price

 impact because disclosure of “earnings miss” not “linked” to challenged statement

 where “analysts mainly ascribed the earnings shortfall to Canadian wildfires”).

              3.    Farner’s March 11, 2021 comments had no price impact.
       Plaintiffs allege that they construed 10 words plucked from Farner’s

 comments during a March 11, 2021 interview on Fox Business (“interest rates

 moving around are a great benefit to us”) as a representation that “rising interest

 rates would not have any effect on [Rocket’s] mortgage business.” (Mot. 3, ECF 74,

 PageID.2449.) “[I]t is more likely than not” that the 10 words Plaintiffs excerpt out

 of context from Farner’s remarks had no price impact. Goldman, 141 S. Ct. at 1963.

       First, Rocket’s stock price did not increase after Farner made his statement.

 (Ex. 26 (Coffman data).) Second, Farner’s statement is the kind of loosely optimistic

 statement that, as discussed above, would not be expected to have price impact.



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 Third, no analyst covering Rocket mentioned Farner’s statement, let alone relied on

 it as a guarantee that “rising interest rates would not have any effect on its mortgage

 business.” (Mot. 3, ECF 74, PageID.2449; see Ex. 2 ¶¶ 55-68. Fourth, Plaintiffs

 cannot rely on the “inflation-maintenance theory” for the same reasons as discussed

 above regarding the February 25 statement. In particular, there is a mismatch in

 genericness between the highly specific corrective disclosure and the generic snippet

 Plaintiffs allege as a misstatement, and Rocket’s stock price did not decline when

 Rocket “spoke[] truthfully” about the effect of rising interest rates “at an equally

 generic level.” GS III, 77 F.4th at 99 (emphasis in original). Lastly, none of the

 analysts covering Rocket referenced Farner’s statement after the alleged corrective

 disclosure or attributed the stock price decline on May 5 to learning that Farner’s

 statement was untrue—i.e., that analysts learned for the first time that rising interest

 rates were detrimental to Rocket’s business, which, again, was “an obvious risk to

 mortgage lenders.” Home Point, 2022 WL 18932069, at *4.

              4.     The March 17, 2021 tweet had no price impact.
       The evidence shows that the tweet had no price impact.

       First, Rocket’s stock price did not increase when Farner tweeted (and Gilbert

 re-tweeted) that (i) “Rocket Pro TPO has increased its market share in the weeks

 since UWM’s ultimatum to brokers”; and (ii) “[v]olume is up significantly” since

 the ultimatum. (AC ¶ 240, ECF 42, PageID.1134; Ex. 26 (Coffman data).)



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       Second, no analyst covering Rocket mentioned the tweet when it was issued.

 Although analyst “commentary [discussed] the subject of” UWM’s ultimatum, that

 “does not suggest that the market relied on [Rocket’s] statements,” as required to

 infer that the tweet had price impact. GS III, 77 F.4th at 103 (emphasis in original).

       Third, Plaintiffs cannot rely on the “inflation-maintenance theory” because

 the disclosure on May 5, 2021 did not “actually correct[]” the tweet. GS III, 77 F.4th

 at 91. The allegedly new information the market learned on May 5, 2021 was that

 Rocket projected that its margin and volumes would be lower than the market

 expected in Q2 2021 because of faster than expected compression in the primary-

 secondary spread. (AC ¶¶ 284-86, ECF 42, PageID.1152-54.) Nothing about that

 disclosed projection for Q2 (i.e., April-June) revealed that volume in the broker

 channel had declined in the prior quarter between March 4, 2021 (when UWM issued

 its ultimatum) and March 17, 2021 (the date of the tweet). Indeed, Rocket’s May 5

 disclosure that the actual closed loan volume of $103.5 billion for Q1 2021 was

 higher than the $98 to $103 billion range Rocket projected on February 25, 2021

 (before the UWM ultimatum) indicates that the tweet was true—volume did go up.

 (Ex. 9 at 2.) Thus, as analysts explained, the market learned on May 5 that Q1 2021

 “was a strong quarter for volumes,” and that Rocket’s “relationships with existing

 partners have been strengthening post the UWM[] announcement, with partners

 sending more volume” to Rocket. (Ex. 23 at 1 (5/6/21 GS analyst report).) See



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 Ramirez, 2023 WL 5415315, at *16-17 (no price impact where corrective disclosure

 not “linked” to statement). Indeed, Rocket set an annual record for closed loan

 volume in fiscal year 2021 of $351 billion. (Ex. 10 at 1 (2/24/22 8-K).)

       Lastly, none of the analysts covering Rocket referenced the tweet after the

 alleged corrective disclosure or attributed the stock price decline on May 5 to

 learning that the tweet was untrue. (Ex. 2 ¶¶ 89-92.)

       C.     The Affiliated Ute Presumption of Reliance Does Not Apply as a
              Matter of Law Because this Case Primarily Involves Alleged
              Affirmative Misstatements.
       Under the presumption recognized in Affiliated Ute, courts may presume

 investor reliance on an omission, but only if the case “primarily involves a failure to

 disclose,” rather than “affirmative misstatements.” Byrd v. ViSalus, Inc., 2018 WL

 1637948, at *9 (E.D. Mich. Apr. 5, 2018). The presumption exists because “when

 no positive statements [are] made” at all, requiring Plaintiffs “to prove a speculative

 negative” (i.e., reliance “on what was not said”) is “impossible or impractical.”

 Volkswagen, 2 F.4th at 1206.

       Here, Plaintiffs do not allege primarily omissions. They allege that only one

 of the four challenged statements “omitted” information (Statement 2). Putting aside

 that Affiliated Ute “does not apply” to a “complaint alleg[ing] numerous affirmative

 misstatements,” Waggoner, 875 F.3d at 96, the presumption would not apply in any




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 event to the one statement Plaintiffs characterize as an omission. 17 Plaintiffs allege

 that Farner’s March 3, 2021 comment that “all [channels are] growing” is both

 “false” because “volume was . . . actually in decline,” and “misleading” because it

 “omitted to disclose” that “volume” was “declin[ing].” (AC ¶¶ 232-36, ECF 42,

 PageID.1129-31.) Although the Sixth Circuit has not yet addressed this issue,18 eight

 Courts of Appeals have unanimously held that Plaintiffs cannot “transform

 affirmative misstatements into implied omissions” simply by contending that

 defendant “fail[ed] to disclose which facts in the representation are not true.”

 Volkswagen, 2 F.4th at 1208-09.19 “[B]ecause all misrepresentations can be cast as

 omissions . . . [that] fail to disclose which facts are not true,” adopting Plaintiffs’

 position would permit plaintiffs to sidestep the more demanding Basic standard and

 obtain automatic class certification. Volkswagen, 2 F.4th at 1208-09.


 17
   Plaintiffs observe that in Burges v. Bancorpsouth, Inc., 2017 WL 2772122, at *10
 (M.D. Tenn. June 26, 2017), the court stated that Affiliated Ute applies to claims
 involving “a combination of omissions and misstatements.” (Mot. 23, ECF 74,
 PageID.2469.) But the court’s sole authority for that statement was a New York
 district court decision that the Second Circuit abrogated in Waggoner.
 18
   The Sixth Circuit recently agreed to address this issue under Rule 23(f) review in
 In re FirstEnergy Corp., No. 23-0303, Order (6th Cir. Nov. 16, 2023).
 19
   See Waggoner, 875 F.3d at 96 (Affiliated Ute inapplicable to “half-truths” or
 “misstatements whose only omission is the truth that the statement misrepresents”);
 Joseph v. Wiles, 223 F.3d 1155, 1162 (10th Cir. 2000); Johnston v. HBO Film
 Mgmt., 265 F.3d 178, 193 (3d Cir. 2001); In re Interbank Funding Corp., 629 F.3d
 213, 219-21 (D.C. Cir. 2010); Abell v. Potomac Ins. Co., 858 F.2d 1104, 1119 (5th
 Cir. 1988); Cavalier Carpets, Inc. v. Caylor, 746 F.2d 749, 756-57 (11th Cir. 1984);
 Vervaecke v. Chiles, Heider & Co., 578 F.2d 713, 717 & n.2 (8th Cir. 1978).


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 II.   The Court Should Deny Certification of the Misstatement Class Because
       Plaintiffs Have Not Proffered the Required Methodology For
       Measuring Classwide Damages.
       Although damages “[c]alculations need not be exact” at the certification stage,

 Rule 23(b) still requires “evidentiary proof”; it does not “set forth a mere pleading

 standard.” Comcast, 569 U.S. at 33, 35. Thus, it “is not enough” for Plaintiffs’

 expert to “merely assert[] that he would be able to develop a model at some point in

 the future.” Ward v. Apple Inc., 784 F. App’x 539, 540 (9th Cir. 2019).

       Here, Plaintiffs’ expert Coffman merely asserts that, in theory, “[t]here is a

 standard and well-accepted method for calculating class-wide damages in cases

 under Section 10(b).” (Coffman ¶ 79, ECF 74-2, PageID.2514.) But Coffman

 developed no such model here. Instead, he admits that developing a model that

 “disaggregates corrective and confounding information” and determines “how

 inflation per share may have evolved over a class period” requires an “intensely

 factual, case-specific” analysis that he did not undertake in this case. (Id. ¶¶ 82-83,

 PageID.2516-17.) And although Coffman expresses confidence in his ability to

 develop a model based on his “experience in dozens of similar matters,” he claims

 that he does not know if he can actually do so until the “the completion of discovery,

 and full development of the case record.” (Id. ¶ 84, PageID.2517.)

       Coffman’s conclusory description of a hypothetical damages model that he

 thinks he might be able to construct in the future does not satisfy Rule 23. “When a



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 class plaintiff presents a damages model that is vague, indefinite, and unspecific, or

 simply asserts (as did [Coffman]) that there are unspecified ‘tools’ available to

 measure damages, the model amounts to no damages model at all, and the class

 cannot be certified.” OPERS, 2018 WL 3861840, at *19.20

          Some district courts have accepted an expert’s ipse dixit that damages can be

 calculated on a class-wide basis in cases with no unusual characteristics, which is in

 tension with Comcast. E.g., Dougherty v. Esperion Therapeutics, Inc., 2020 WL

 6793326, at *6 (E.D. Mich. Nov. 19, 2020).21 But as Dr. Mark Garmaise shows, the

 facts here are far from typical, and Coffman has not proposed any methodology that

 can measure damages on a class-wide basis that, for example, adjusts for the rapidly

 changing mix of information during the Class Period about interest rates and other

 macroeconomic factors, and accounts for the meme stock behavior in Rocket’s stock

 price. (Ex. 3 ¶¶ 34-63.) Thus, unlike in some other cases, Coffman “face[s] a

 ‘herculean task’ in sorting through the continuous flow of information about”

 changing macroeconomic conditions during the Class Period, but he “d[oes] not

 establish any reliable means of addressing this problem.” Bricklayers v. Credit



 20
   See Fort Worth Emp’s Ret. Fund v. J.P. Morgan Chase & Co., 301 F.R.D. 116,
 142 (S.D.N.Y. 2014) (“say-so” of plaintiffs’ expert not sufficient); In re BP plc Sec.
 Litig., 2014 WL 2112823, at *12 (S.D. Tex. May 20, 2014) (same).
 21
      The Sixth Circuit also will address this issue in FirstEnergy.



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 Suisse Sec. (USA) LLC, 752 F.3d 82, 95 (1st Cir. 2014).22

 III.   The Court Should Deny Certification of the Insider Trading Class.
        A.    Plaintiff Pearlman Lacks Article III Standing To Assert an
              Insider Trading Claim.
        As an initial matter, the Court cannot certify an insider trading class because

 Pearlman was never appointed as a lead plaintiff to represent this entirely distinct

 class, as the PSLRA requires. See 15 U.S.C. § 78u-4(a)(3). Instead, Plaintiffs’

 counsel added Pearlman as a plaintiff in their Amended Complaint to assert a claim

 on behalf of an entirely new class without following the PSLRA appointment

 process. As a result, Pearlman cannot proceed on behalf of a putative class. See

 Vanleeuwen v. Keyuan Petrochems., Inc., 2013 WL 2247394, at *4-6 (C.D. Cal.

 May 9, 2013).

        In any event, Pearlman lacks standing.          “[C]lass representatives must

 demonstrate ‘individual standing vis-a-vis the defendant,’” Soehnlen v. Fleet

 Owners Ins. Fund, 844 F.3d 576, 582 (6th Cir. 2016), and “if no named plaintiff has

 standing,” the Court “lack[s] jurisdiction,” Frank v. Gaos, 139 S. Ct. 1041, 1046

 (2019). Here, only Pearlman asserts an insider trading claim. But he suffered no

 22
    At a minimum, even if a class could be certified as to liability, Plaintiffs’ failure
 to adduce evidence that damages can be calculated on a classwide basis under
 Comcast requires that the Court deny certification of a damages class. See Treviso
 v. NFL, 2020 WL 7021357, at *7 (N.D. Ohio Nov. 30, 2020) (certifying “liability-
 only class issue” where plaintiff failed to prove that damages could be calculated on
 a common basis).



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 “concrete harm” from RHI and Gilbert’s stock sale, and thus he lacks “Article III

 standing.” TransUnion, 141 S. Ct. at 2200.23 Pearlman’s lack of standing also

 makes him an inadequate class representative under Rule 23. See Oron 2015 LLC

 v. City of Southfield, 2019 WL 2502739, at *6 (E.D. Mich. June 17, 2019).

       In TransUnion, the Supreme Court “rejected” that “a plaintiff automatically

 satisfies the injury-in-fact requirement whenever a statute grants a person a statutory

 right.” 141 S. Ct. at 2205. Under Article III, “[o]nly those plaintiffs who have been

 concretely harmed by a defendant’s statutory violation may sue that private

 defendant over that violation in federal court.” Id. (emphasis in original). Pearlman

 alleges that RHI and Gilbert’s purported insider trading caused two harms: (i) an

 informational injury by not having “access to th[e] material, non-public, adverse

 information”; and (ii) a monetary injury because “Rocket’s stock price declined”

 after the “material adverse information” was disclosed. (AC ¶¶ 323-24, ECF 42,

 PageID.1166-67.) Neither theory gives rise to a concrete injury because RHI and

 Gilbert sold Rocket stock in an off-market block trade with Morgan Stanley (Ex. 25

 (Trade Confirm)), and thus Pearlman incurred no “‘injury in fact,’ economic or

 otherwise.” Fridrich v. Bradford, 542 F.2d 307, 315 n.21 (6th Cir. 1976).

       No informational injury. “[T]he mere denial of information is insufficient to

 23
   A “standing defect implicates the propriety of a class certification” because a
 “court has no power to certify a class if it lacks jurisdiction.” Fox v. Saginaw Cnty.,
 67 F.4th 284, 292 (6th Cir. 2023).


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 support standing.” Grae v. Corr. Corp. of Am., 57 F.4th 567, 569 (6th Cir. 2023).

 The question is “whether the asserted harm has a close relationship to a harm

 traditionally recognized as providing a basis for a lawsuit in American courts.”

 TransUnion, 141 S. Ct. at 2200. Here, “there is no historical or common-law analog

 where” an insider’s failure to publicly disclose information to the market at large

 “amounts to concrete injury.” Id. at 2209. At common law, an insider sale based on

 non-public information breached a duty only to the company itself. See Brophy v.

 Cities Serv. Co., 31 Del. Ch. 241, 244-46 (1949). To the extent courts expanded the

 duty to disclose to a trading counterparty, an insider owed a duty to disclose only in

 “face-to-face transactions.”    Stephen M. Bainbridge, Incorporating State Law

 Fiduciary Duties into the Federal Insider Trading Prohibition, 52 Wash. & Lee L.

 Rev. 1189, 1221 (1995). But “[t]he uniform state law approach in the [open] market

 context remained a no duty [to disclose] rule” when an insider sold shares. Id. That

 is why the Supreme Court long ago “repudiat[ed] any notion that all traders must

 enjoy equal information before trading”: “a duty to disclose [inside information]

 arises from the relationship between parties.” Dirks v. SEC, 463 U.S. 646, 657-58

 (1983) (alterations omitted). Thus, “[t]he classical theory [of insider trading] targets

 a corporate insider’s breach of duty to shareholders with whom the insider

 transacts.” United States v. O’Hagan, 521 U.S. 642, 652 (1997) (emphasis added).

       Accordingly, any “harm” to market participants writ large from insider trading



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 has never been one “traditionally recognized as providing a basis for a lawsuit in

 American courts.” TransUnion, 141 S. Ct. at 2200. Indeed, the Sixth Circuit held

 in similar circumstances that a plaintiff incurred no “injury in fact, economic or

 otherwise,” and thus lacked “standing” to assert an insider trading: because “[i]t

 [wa]s undisputed that defendants did not purchase any shares of stock from

 plaintiffs” before a lucrative merger announcement, “defendants’ acts of trading in

 no way affected plaintiffs’ decision to sell.” Fridrich, 542 F.2d at 315 n.21, 318.

       Monetary Injury. Economists agree that “insider trading” causes “no direct

 harm” to anyone. Henry G. Manne, Insider Trading, 31 J. Corp. L. 167, 168

 (2005).24 And any theoretical harm from insider trading might arise only “where it

 appears the plaintiff might, in fact, have traded with the defendant.” Buban v.

 O’Brien, 1994 WL 324093, at *3 (N.D. Cal. June 22, 1994). But Pearlman did not

 trade with RHI or Gilbert. They sold their stock to Morgan Stanley in a private block

 trade. That “trading with a third person bears absolutely no causal relationship

 whatsoever to plaintiffs’ injury.”    Fridrich, 542 F.2d at 315 n.23.      “Because

 [Pearlman] would have suffered the same financial injury regardless” of whether

 24
    See, e.g., John P. Anderson, Greed, Envy, and the Criminalization of Insider
 Trading, 2014 UTAH L. REV. 1, 9 (2014) (“The harm-to-counterparty argument
 against insider trading has all but disappeared from legislative debates, court
 decisions, and scholarly treatment.”); Dan B. Dobbs, LAW OF REMEDIES § 10.5(2)
 (“[A]n inside trade as such does not obviously cause harm to the investor who buys
 or sells on the stock exchange. His loss would usually be just as great if there were
 no inside trading at all.”).


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 RHI and Gilbert sold stock to Morgan Stanley, he “cannot establish that this injury

 flows from [their] conduct.” Carroll v. Hill, 37 F.4th 1119, 1122 (6th Cir. 2022).

       To be clear, Defendants do not argue that no plaintiff ever has standing to

 assert an insider trading claim. Here, for example, Morgan Stanley could potentially

 claim it incurred the kind of informational injury cognizable at common law.

 Similarly, if an insider sells stock directly into the open market, some courts

 permitted claims by plaintiffs who bought stock “during the same period” that the

 insider sold without proof linking “a particular defendant’s sale with a particular

 plaintiff’s purchase,” because “it would be impossible to” do so. Shapiro v. Merrill

 Lynch, 495 F.2d 228, 236-37 (2d Cir. 1974). This relaxed standard—which courts

 did not apply to the kind of private sale at issue here, see Stromfeld v. Great Atl. &

 Pac. Tea Co., 496 F. Supp. 1084, 1087-88 (S.D.N.Y. 1980)—may be consistent with

 TransUnion’s recognition that “the law has long permitted recovery by certain tort

 victims even if their harms may be difficult to prove or measure.” 141 S. Ct. at 2211.

       B.     The Proposed Class Definition Lacks Objective Criteria To
              Determine Membership.
       Plaintiffs’ proposed class definition of persons who purchased Rocket

 common stock “contemporaneously with” RHI and Gilbert’s stock sale is too vague

 and “[in]sufficiently definite . . . to determine whether a particular individual is a

 member of the proposed class.” Young v. Nationwide Mut. Ins. Co., 693 F.3d 532,

 537-38 (6th Cir. 2012). Pearlman asserts that his purchase of Rocket stock on the


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 “very same day” as the stock sale qualifies as a “contemporaneous[]” purchase under

 Section 20A (Mot. 11, ECF 74, PageID.2447), and courts have likewise limited an

 insider trading class to persons who purchased stock on the “same day” as the insider

 sale because those are the only persons who could “have realistically traded with a

 given defendant.” In re Fed. Nat’l Mortg. Ass’n, 503 F. Supp. 2d 25, 47 (D.D.C.

 2007); see Fridrich, 542 F.2d at 327 (Celebrezze, J., concurring) (investors who

 traded “contemporaneously” with defendant “should be limited to those who sold”

 on the days defendants purchased).

                                  CONCLUSION
       The Court should deny Plaintiffs’ motion for class certification.

 December 8, 2023                               Respectfully submitted,

 /s/ Nick Gorga                                 /s/ Jeffrey T. Scott
 Nick Gorga (P72297)                            Jeffrey T. Scott (N.Y. 2890374)
 HONIGMAN LLP                                   SULLIVAN & CROMWELL LLP
 (Additional counsel listed on cover)           (Additional counsel listed on cover)
 Counsel for Rocket Companies, Inc.             Counsel for Jay D. Farner, Daniel
                                                Gilbert, and Rock Holdings Inc.




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                            CERTIFICATE OF SERVICE
       I hereby certify that on December 8, 2023, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system which will send notification

 of such filing to all parties of record, and I hereby certify that I have mailed by United

 States Postal Service the paper to the following non-ECF participants: None.

                                          Respectfully submitted,

                                          /s/ Jeffrey T. Scott
                                          Jeffrey T. Scott (N.Y. 2890374)
                                          SULLIVAN & CROMWELL LLP
                                          125 Broad Street
                                          New York, New York 10004
                                          Tel: (212) 558-4000

                                          Counsel for Defendants Jay D. Farner,
                                          Daniel Gilbert, and Rock Holdings Inc.
  December 8, 2023




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